     1      TAYLOR SKINNER, LLC
            WILFORD L. TAYLOR – STATE BAR # 005958
            BRIAN C. TAYLOR – STATE BAR #023842
     2      BENJAMIN A. SKINNER – STATE BAR #023563
            7233 E. BASELINE ROAD, SUITE 117
     3      MESA, ARIZONA 85209
            TELEPHONE NO. (480) 985-4445
            E-MAIL: notices@taylorskinner.com
     4                 U                       U




            Attorneys for Debtors
     5
     6                            IN THE UNITED STATES BANKRUPTCY COURT

     7                                       FOR THE DISTRICT OF ARIZONA

     8        In re:                                              Chapter 7 Proceedings
     9
              JEFFREY DOUGLAS HUNT,                               Case No.: 2:19-bk-11453-MCW
   10
              and                                                 DEBTORS’ RENEWED OBJECTION
   11                                                             TO MOVANT’S MOTION TO LIFT
              MINDY JANE HUNT,                                    THE AUTOMATIC BANKRUPTCY
   12                                                             STAY
   13                                    Debtors.
                                                                    Re: Real Property located at 1757 East Hale
   14                                                               Street Mesa, Arizona, 85203
              AMERIHOME MORTGAGE COMPANY,
   15         LLC,
                         Movant,
   16
              vs.
   17
   18         JEFFREY DOUGLAS HUNT dba JEFF
              HUNT BAND, LLC dba TORNADIC, LLC
   19         and MINDY JANE HUNT, Debtors; ROGER
              W. BROWN, Trustee,
   20
   21                                Respondents.

   22
                       COMES NOW, Debtors Jeffrey Douglas Hunt and Mindy Jane Hunt, by and through
   23
            counsel undersigned, and hereby file this Renewed Objection to Movant’s Motion to Life the
   24
            Automatic Bankruptcy Stay in connection with the Amended Notice of Motion for Relief from
   25
            Stay filed by Movant. This objection is supported by the attached Memorandum of Points and
   26
            Authorities.



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     1                                  MEMORANDUM OF POINTS AND AUTHORITIES

     2                On or about September 9, 2019, Debtor filed for bankruptcy relief under chapter 7.

     3                As previously outlined in its Objection to the Motion for Relief from Stay, Debtor and Joint

     4      Debtor did not receive a copy of the filed Motion for Relief from Stay nor Notice of Motion for

     5      Relief from Stay purportedly mailed on October 25, 2019, which resulted in failed service.

     6                In its Amended Notice of Filing Motion for Relief from the Automatic Stay and

     7      Requirement to File, Movant again states that the Notice and Motion were mailed on October 25,

     8      2019 which statement is improper as those documents mailed on October 25, 2019, as outlined in

     9      Debtors original Objection to Motion for Relief from Stay, did not in fact pertain to this case.

   10                 To date, the documents purported to have been mailed on October 25, 2019, have not been

   11       received by Debtor, Joint Debtor, nor counsel therefore service continues to fail.

   12                 Debtor does not dispute Movant holds a lien on the property identified as 1757 East Hale

   13       Street, Mesa, Arizona 85203 (the “Property”).

   14                 Debtors are actively working to raise the necessary funds to cure the default along with all

   15       late fees penalties and interest. In addition, Debtors are currently seeking a loan modification to

   16       address the arrearages. In either alternative, Debtors are in need of additional time to cure the

   17       arrearages or to cure the default through a loan modification.

   18                 Therefore, Debtors respectfully request this Court deny the Motion to Lift the Automatic

   19       Bankruptcy Stay.

   20                 DATED this 3rd day of December 2019.

   21                                                         TAYLOR SKINNER, LLC
   22
   23                                                         /s/Benjamin A. Skinner, 023563
                                                              Attorneys for Debtors
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   25
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     1      CERTIFICATE OF SERVICE

     2      ORIGINAL of the foregoing filed via ECF
            this 3rd day of December 2019
     3
     4      COPY of the foregoing mailed via regular mail
            this 3rd day of December 2019 to:
     5
            Office of the U.S. Trustee
     6      230 North First Avenue, Suite 204
            Phoenix, AZ 85003
     7      ustpregion14.px.ecf@usdoj.gov
     8      U.S. Trustee

     9      Roger W. Brown
            P.O. Box 32967
   10       Phoenix, AZ 85064-2967
            602-274-4231
   11       rogerbrowntrustee@live.com
   12       Trustee

   13       Leonard J. Mcdonald, Jr.
            Tiffany & Bosco, P.A.
   14       Seventh Floor Camelback Esplanade Ii
            2525 E. Camelback Road
   15
            Phoenix, AZ 85016
   16       ecf@tblaw.com
            Attorney for AmeriHome Mortgage Company, LLC
   17
   18       /s/Celeste Hofeling
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